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                         IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                 TEXARKANA DIVISION

   JUAN LOZADA-LEONI                           §
                                               §
   V.                                          §                      No. 5:19CV11-RWS-CMC
                                               §
   MONEYGRAM INTERNATIONAL,                    §
   INC. and MONEYGRAM PAYMENT                  §
   SYSTEMS, INC.                               §


                            REPORT AND RECOMMENDATION
                       OF THE UNITED STATES MAGISTRATE JUDGE


          The above-referenced case was referred to the undersigned United States Magistrate Judge

   for pre-trial purposes in accordance with 28 U.S.C. § 636. Before the Court are the following

   pending motions:

          Defendant MoneyGram International, Inc.’s Motion to Dismiss for Improper
          Venue, or Alternatively, Motion to Transfer Venue, and Brief in Support
          (Docket Entry # 5); and

          Defendant MoneyGram Payment Systems, Inc.’s Motion to Dismiss, or
          Alternatively, Motion to Transfer Venue, and Brief in Support (Docket Entry
          # 23).

   The Court, having reviewed the relevant briefing and hearing arguments of counsel August 8, 2019,

   recommends Defendants’ Rule 12(b)(1) motions to dismiss Defendant MoneyGram Payment

   Systems, Inc. be DENIED. The Court further recommends Defendant MoneyGram International,

   Inc.’s motion to dismiss or to transfer under § 1406(a) be DENIED. The Court further recommends

   Defendants’ alternative § 1404(a) motion to transfer venue to the Sherman Division of the Eastern

   District of Texas be GRANTED.
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                                          I. BACKGROUND

          This suit concerns the federal Sarbanes-Oxley Act of 2002 (“SOX”), “which protects those

   who blow the whistle on their employer’s failure to comply with Securities and Exchange

   Commission reporting requirements.” Wallace v. Andeavor Corp., 916 F.3d 423, 425 (5th Cir.),

   cert. denied, 140 S. Ct. 206 (2019). In his original complaint and First Amended Complaint,

   Plaintiff Juan Lozada-Leoni (“Plaintiff”) sued MoneyGram International, Inc. (“MGI”), as well as

   Juan Manuel Gonzalez (“Gonzalez”) and Christopher Ponder (“Ponder”), two managers that were

   allegedly involved in Plaintiff’s termination. On April 11, 2019, MGI filed its motion to dismiss for

   improper venue, or alternatively, motion to transfer venue. Docket Entry # 5. That same day,

   Gonzalez and Ponder each filed a motion to dismiss pursuant to Rule 12(b)(1) and Rule 12(b)(6),

   asserting Plaintiff never filed an administrative complaint against them and thus failed to exhaust

   administrative remedies. Docket Entry #s 6, 7.

          On May 16, 2019, Plaintiff filed his Second Amended Complaint (“SAC”), dismissing

   Gonzalez and Ponder and adding MoneyGram Payments Systems, Inc. (“MPSI”) as a defendant,

   along with MGI (collectively, “Defendants”). See Docket Entry # 21. According to the SAC,

   Plaintiff began work as a Senior Manager for the U.S. Regional Compliance Team for MPSI on

   October 18, 2016. SAC at p. 7, ¶ 24. Plaintiff alleges that during his tenure at MPSI, “MGI had

   knowledge of, yet ignored, suspicious activities of several of its largest agents, including Wal-Mart,

   Schnucks, SuperValu, RaceTrac, Valero and CVS.” Id., ¶ 29. Plaintiff alleges he witnessed

   compliance infractions and notified MGI management of those infractions, “but to no avail.” Id. at

   pp. 9-19. Plaintiff alleges he was retaliated against for his complaints about MGI’s illegal conduct.

   Id. at p. 19. Plaintiff asserts Defendants violated the SOX by taking adverse employment actions


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   against him, including, but not limited to, termination and other forms of retaliation, because of his

   protected conduct under 18 U.S.C. § 1514A. Id. at p. 22.

                                    II. DEFENDANTS’ MOTIONS

   A.     MGI’s assertions

          Before the filing of the SAC, MGI filed a motion to dismiss for improper venue pursuant to

   Rule 12(b)(3) of the Federal Rules of Civil Procedure, or in the alternative, motion to transfer venue

   under 28 U.S.C. § 1406(a) to the Northern District of Texas, Dallas Division. At the time MGI filed

   its motion, Gonzalez and Ponder were the only other defendants, and they had both filed motions

   to dismiss. MGI argued the Court should first address those motions and dismiss the individual

   defendants prior to deciding MGI’s motion. Docket Entry # 5 at p. 2. According to MGI, the Court

   should then grant MGI’s motion to dismiss “because the acts and omissions by MGI allegedly giving

   rise to Plaintiff’s claim against MGI either were not done by MGI [but by MPSI] or did not occur

   in this District, and because MGI does not reside in this District.” Id. (emphasis in original).

   Alternatively, and in addition, MGI moves the Court to transfer this case to the Dallas Division of

   the Northern District of Texas, or the Sherman Division of the Eastern District of Texas, pursuant

   to 28 U.S.C. § 1404.

   B.     MPSI’s assertions

          Following the filing of the SAC which removed the individual defendants and added MPSI

   as a defendant, MPSI filed its motion to dismiss, or alternatively, motion to transfer venue. Docket

   Entry # 23. Because Plaintiff did not name MPSI as a respondent in his administrative complaint

   filed with the Department of Labor (“DOL”) and only sought relief against MGI, MPSI moves to

   dismiss pursuant to Rule 12(b)(1) for lack of subject matter jurisdiction and/or pursuant to Rule


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   12(b)(6) for failure to state a claim against MPSI upon which relief may be granted. Id. at p. 2.

   Alternatively, and in addition, if the Court determines it has subject matter jurisdiction and that

   Plaintiff has stated a claim upon which relief can be granted, MPSI moves the Court to transfer this

   case to the Dallas Division of the Northern District of Texas, or the Sherman Division of the Eastern

   District of Texas, pursuant to 28 U.S.C. § 1404. Id.

   C.       Plaintiffs’ response

            In his response, Plaintiff asserts he was not required to name MPSI in his administrative

   complaint. Docket Entry #34 at p. 5. “At all times during this proceeding, Plaintiff took the position,

   and takes the same position now, that MPSI’s role in this dispute is insignificant, thus not requiring

   naming it as an individual defendant.” Id. According to Plaintiff, even though his administrative

   complaint did not name MPSI, it gave MPSI fair notice of the charges against it and afforded OSHA

   the opportunity to resolve those charges administratively. Plaintiff asserts there can be no doubt that

   both MPSI and OSHA were put on fair notice of Plaintiff’s claims under SOX. Id.

            Regarding MGI’s alternative motion to transfer venue under § 1406(a), Plaintiff contends

   Defendants have failed to demonstrate that the Eastern District of Texas is the wrong district.

   Relying on 28 U.S.C. § 1391(b)(2), Plaintiff contends venue is proper in the Eastern District of

   Texas because Plaintiff was terminated in this district.1 Finally, Plaintiff further asserts Defendants

   have failed to meet their burden under § 1404(a) in demonstrating the balance of convenience and



            1
              At the August 8, 2019 hearing, Defendants’ counsel made clear that if MGI is the only remaining party in this
   case, MGI argues venue is improper in the Eastern District of Texas under the general venue statute because MGI is a
   Delaware corporation with its principal place of business in Dallas, Texas and none of the relevant facts or omissions
   occurred with respect to MGI in the Eastern District of Texas. Hearing Tr. (Docket Entry # 44) at 34:1-8; 34:22-35:4.
   According to Defendants’ counsel, in the event the Court does not dismiss either MGI or MPSI, this case should be
   transferred under § 1404(a) to the “clearly more convenient venue, which is actually intra-district transfer to the
   Sherman” division of the Eastern District of Texas. Id. at 40:24-41:3.

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   justice substantially favors transfer of this case to the Northern District of Texas or the Sherman

   Division of the Eastern District of Texas. Docket Entry #32 at pp. 8-10; see also Docket entry # 34

   at pp. 18-21.

   D.      Defendants’ replies

           Defendants argue the cases relied upon by Plaintiff in support of his exhaustion arguments

   actually “make clear that Plaintiff’s failure to at least name MPSI in the body of the DOL Complaint

   means he failed to exhaust his remedies, and that the Court must dismiss his claims” against MPSI.

   Docket Entry # 37 at pp. 1-2 (emphasis in original). Regarding their alternate § 1404(a) motion to

   transfer the case to the Northern District of Texas, or to the Sherman Division of the Eastern District

   of Texas, Defendants assert Plaintiff’s primary argument in response – “that Texarkana is

   geographically closest to many members of his laundry list of fact witnesses – does not address the

   question of convenience, which is the single most important factor in the analysis, and plainly favors

   either alternative venue over Texarkana.” Id. at p. 2 (emphasis in original).

                                     III. STATUTORY OVERVIEW

   A.      Sarbanes-Oxley Act of 2002

           In 2002, Congress passed the Sarbanes-Oxley Act, Pub. L. No. 107-204, 116 Stat. 745

   (2002), which established a private right of action for employees of certain companies who are

   discharged for, among other things, “provid[ing] information . . . regarding any conduct which the

   employee reasonably believes constitutes a violation of [specified securities laws] . . . to . . . a person

   with supervisory authority over the employee.” Daly v. Citigroup Inc., 939 F.3d 415, 422 (2d Cir.

   2019) (quoting 18 U.S.C. § 1514A(a)(1)(C)). SOX protects employees from retaliation for engaging

   in protected activity, which is


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           any lawful act done by the employee to provide information, cause information to be
           provided, or otherwise assist in an investigation regarding any conduct which the
           employee reasonably believes constitutes a violation of section 1341 [mail fraud],
           1343 [wire fraud], 1344 [bank fraud], or 1348 [securities fraud], any rule or
           regulation of the Securities and Exchange Commission, or any provision of Federal
           law relating to fraud against shareholders. . . .

   Wallace v. Tesoro Corp., 796 F.3d 468, 474 (5th Cir. 2015) (“Wallace I”) (quoting 18 U.S.C. §

   1514A(a)). “Essentially, the employee has to provide information or assist in an investigation that

   he reasonably believes relates to one or more of six categories of laws and regulations: four specific

   types of fraud, a federal offense that relates to fraud against shareholders, or a rule or regulation of

   the SEC.” Wallace I, 796 F.3d at 474.

           A retaliation claim under § 1514A(a) requires an employee prove “by a preponderance of the

   evidence, that (1) he engaged in protected whistleblowing activity, (2) the employer knew that he

   engaged in the protected activity, (3) he suffered an ‘adverse action,’ and (4) the protected activity

   was a ‘contributing factor’ in the ‘adverse action.’” Wallace v. Andeavor Corp., 916 F.3d 423, 426

   (5th Cir.), cert. denied, 140 S. Ct. 206 (2019) (“Wallace III”) (quoting Halliburton, Inc. v. Admin.

   Review Bd., 771 F.3d 254, 259 (5th Cir. 2014) (footnote omitted) (quoting Allen v. Admin. Review.

   Bd., 514 F.3d 468, 475-76 (5th Cir. 2008))). An employee’s reasonable belief that conduct violates

   one of those six categories must be evaluated under both an objective and a subjective standard.

   Wallace I, 796 F.3d at 474 (citing Allen, 514 F.3d at 477). The objective standard examines whether

   the belief would be held by “a reasonable person in the same factual circumstances with the same

   training and experience as the aggrieved employee.” Wallace I, 796 F.3d at 474-75 (quoting Allen,

   514 F.3d at 477).

           A person averring retaliation in violation of SOX must first file a complaint with the



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   Secretary of Labor. Wallace I, 796 F.3d at 475 (citing 18 U.S.C. § 1514A(b)(1)(A)). If 180 days pass

   from the filing of that complaint without a final decision, the complainant can sue. Wallace I, 796

   F.3d at 475 (citing 18 U.S.C. § 1514A(b)(1)(B); also citing Lawson v. FMR LLC, ––– U.S. ––––,

   134 S.Ct. 1158, 1163, 188 L.Ed.2d 158 (2014)).

   B.      Dodd-Frank Act of 2010

           Following the financial crisis of 2007-08, Congress passed the Dodd-Frank Wall Street

   Reform and Consumer Protection Act of 2010, Pub. L. No. 111-203, 124 Stat. 1376 (2010), which

   amended a variety of federal statutory provisions that had been designed to regulate the financial

   industry. Daly, 939 F.3d at 422. Dodd-Frank amended the Securities Exchange Act of 1934 to create

   a private right of action against an employer who retaliates against a whistleblower for engaging in

   one or more of three categories of protected activity including “making disclosures that are required

   or protected under [SOX].” Id. (quoting 15 U.S.C. § 78u-6(h)(1)(A)(iii)). “The amended provision

   extends § 1514A’s protection to employees of public company subsidiaries and nationally

   recognized statistical rating organizations (NRSROs).” Lawson v. FMR L.L.C., 571 U.S. 429, 455,

   134 S. Ct. 1158, 1174, 188 L. Ed. 2d 158 (2014).

                                    IV. APPLICABLE STANDARDS

           A complaint must be dismissed if the court lacks subject matter jurisdiction over the

   plaintiff’s claim, FED. R. CIV. P. 12(b)(1), or if the plaintiff fails to state a claim upon which relief

   may be granted, FED. R. CIV. P. 12(b)(6).

           Defendants have presented their administrative exhaustion arguments under Rules 12(b)(1)

   and 12(b)(6). The Second Circuit Court of Appeals recently considered whether SOX’s

   administrative exhaustion requirements are a jurisdictional prerequisite to suit, noting it had not


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   found clear guidance among the “sister circuits.” Daly, 939 F.3d at 426-28. According to the Second

   Circuit in Daly, the Fourth Circuit has assumed, without deciding, that a claimant’s failure to exhaust

   the statute’s administrative remedies would deprive a district court of jurisdiction, citing as support

   several district court cases and an administrative decision of the DOL. Id. at 426 (citing Feldman v.

   Law Enf’t Assocs. Corp., 752 F.3d 339, 345 n.7 (4th Cir. 2014)). Of particular relevance here, the

   court in Daly stated the Fifth Circuit similarly implied the SOX exhaustion requirements are a

   jurisdictional prerequisite to suit. Daly, 939 F.3d at 426 (citing Heaney v. Prudential Real Estate

   Affiliates, Inc., 328 Fed. Appx. 314, 314 n.1 (5th Cir. 2009) (per curiam) (noting the court was

   “satisfied that the plaintiff exhausted his administrative remedies under the Sarbanes-Oxley Act and

   thus that the district court had jurisdiction over the matter”)).

          The Second Circuit concluded the text of SOX makes clear that Congress intended for its

   administrative exhaustion requirements to be a jurisdictional prerequisite to suit in federal court,

   noting the” statute’s exhaustion requirements are included in the same provision—indeed, in the

   same sentence—as its jurisdictional provision.” Daly, 939 F.3d at 427. According to the court in

   Daly, “that provision expressly grants federal jurisdiction only when specific administrative remedies

   have been exhausted:”

          (1) In general.--A person who alleges discharge or other discrimination by any person
          in violation of [the whistleblower protection provision] may seek relief under [this
          section], by–

                  (A) filing a complaint with the Secretary of Labor; or

                  (B) if the Secretary has not issued a final decision within 180 days of
                  the filing of the complaint and there is no showing that such delay is
                  due to the bad faith of the claimant, bringing an action at law or
                  equity for de novo review in the appropriate district court of the
                  United States, which shall have jurisdiction over such an action


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                    without regard to the amount in controversy.

   Id. (quoting 18 U.S.C. § 1514A(b)(1)(A)-(B)).

          The statute further provides that an employee asserting a SOX whistleblower claim must file

   her complaint with the Secretary of Labor “not later than 180 days after the date on which the

   violation occurs, or after the date on which the employee became aware of the violation.” Daly, 939

   F.3d at 427 (quoting 18 U.S.C. § 1514A(b)(2)(D)). “And the Secretary of Labor has, in turn,

   delegated the responsibility for adjudicating such a claim to OSHA.” Daly, 939 F.3d at 427 (citing

   29 C.F.R. § 1980.103(b)-(d)).

          As explained by the Second Circuit, by the terms of the statute and its attendant regulations,

   a party may seek review of a SOX whistleblower claim in federal court under the following two

   circumstances:

          First, when OSHA fails to issue a final decision within 180 days of the filing of an
          administrative complaint, and ‘there is no showing that such delay is due to the bad
          faith of the claimant,’ 18 U.S.C. § 1514A(b)(1)(B), a party may seek relief by
          ‘bringing an action at law or equity for de novo review in the appropriate district
          court of the United States.’ Id. Second, review in federal court is possible if the party
          seeks review of a final order from OSHA within 60 days in ‘the United States Court
          of Appeals for the circuit in which the violation allegedly occurred or the circuit in
          which the complainant resided on the date of the violation,’ in which case the federal
          court’s review on appeal is limited to the administrative record. . . .

   Daly, 939 F.3d at 427-28.

          “In either instance, however, for the federal court to have jurisdiction over the claim, the

   claimant must first commence an action with an adjudicating administrative agency.” Id. at 428.

   The court in Daly concluded the administrative exhaustion requirements under SOX are

   jurisdictional and a prerequisite to suit in federal court. The Court agrees and will consider under

   Rule 12(b)(1) Defendants’ arguments regarding Plaintiff’s failure to exhaust administrative remedies


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   as to MPSI.

          A motion to dismiss filed pursuant to Rule 12(b)(1) “allow[s] a party to challenge the subject

   matter jurisdiction of the district court to hear a case.” Wright v. Common Ground Health Clinic,

   Inc., No. CV 16-11623, 2016 WL 4720011, at *2 (E.D. La. Sept. 9, 2016) (quoting Ramming v.

   United States, 281 F.3d 158, 161 (5th Cir. 2001)). “At the outset [the Court] must emphasize a

   crucial distinction, often overlooked, between 12(b)(1) motions that attack the complaint on its face

   and 12(b)(1) motions that attack the existence of subject matter jurisdiction in fact, quite apart from

   any pleadings.” Wright, 2016 WL 4720011, at *2 (quoting Mortensen v. First Fed. Sav. & Loan

   Ass’n, 549 F.2d 884, 891 (3d Cir. 1977); also citing 5B Wright & Miller, Federal Practice and

   Procedure § 1350 (3d ed. 2013) (“As many judicial decisions make clear, a motion under Rule

   12(b)(1) may be used to attack two different types of jurisdiction defects.”)). The Fifth Circuit has

   explained as follows:

          A motion to dismiss for lack of subject matter jurisdiction, Rule 12(b)(1), can be
          based on the lack of jurisdiction on the face of the complaint. If so, the plaintiff is left
          with safeguards similar to those retained when a Rule 12(b)(6) motion to dismiss for
          failure to state a claim is raised—the court must consider the allegations in the
          plaintiff's complaint as true. But the two motions are treated quite differently when
          matter outside the complaint is the basis of the attack.

   Wright, 2016 WL 4720011, at *2 (quoting Williamson v. Tucker, 645 F.2d 404, 412 (5th Cir. 1981),

   cert. denied, 454 U.S. 897 (1981) (citation omitted)). The court further explained by quoting the

   Third Circuit:

          The facial attack [on subject matter jurisdiction] does offer similar safeguards to the
          plaintiff: the court must consider the allegations of the complaint as true. The factual
          attack, however, differs greatly for here the trial court may proceed as it never could
          under 12(b)(6) or Fed. R. Civ. P. 56. Because at issue in a factual 12(b)(1) motion is
          the trial court's jurisdiction—its very power to hear the case—there is substantial
          authority that the trial court is free to weigh the evidence and satisfy itself as to the


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          existence of its power to hear the case. In short, no presumptive truthfulness attaches
          to plaintiff’s allegations, and the existence of disputed material facts will not
          preclude the trial court from evaluating for itself the merits of jurisdictional claims.

   Wright, 2016 WL 4720011, at *2 (quoting Williamson, 645 F.2d at 412-13 (quoting Mortensen, 549

   F.2d at 891)).

          “The district court consequently has the power to dismiss for lack of subject matter

   jurisdiction on any one of three separate bases: (1) the complaint alone; (2) the complaint

   supplemented by undisputed facts evidenced in the record; or (3) the complaint supplemented by

   undisputed facts plus the court’s resolution of disputed facts.” Wright, 2016 WL 4720011, at *2

   (quoting Williamson, 645 F.2d at 413); see also Blankenship v. Buenger, 653 Fed. Appx. 330, 334

   (5th Cir. 2016) (in analysis of subject matter jurisdiction for Rule 12(b)(1) motion, the court may

   properly consider the complaint, undisputed facts in the record, and its own resolution of disputed

   facts). The court “has broader power to decide its own right to hear the case than when the merits

   of the case are reached[.]” Blanchet v. Chevron/Texaco Corp., 368 F. Supp. 2d 589, 595 (E.D. Tex.

   2004) (quoting Williamson, 645 F.2d at 413). “The burden of proof for a Rule 12(b)(1) motion to

   dismiss is on the party asserting jurisdiction.” Edwards v. Burwell, No. 15-10807, 2016 WL

   4073298, at *1 (5th Cir. July 29, 2016).

                                        V. MATERIAL FACTS

   A.     Evidentiary objections

          MGI and MPSI attached numerous documents to their motions to dismiss, many of which

   appear in the administrative record of the proceeding from which Plaintiff brings this action for de

   novo review. Docket Entry # 5 at p. 3; see also Docket Entry # 23 at p. 3. According to Defendants,

   the Court may take judicial notice of these items. Defendants also attached the Declaration of


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   Elizabeth Weathers-Nguyen, as well as excerpts from Plaintiff’s deposition, and certain

   correspondence between counsel. Id.

          Plaintiff attached evidence to his responses to Defendants’ motions (Docket Entry #s 19, 34),

   and he also attached the following to his surreply to MPSI’s reply: (1) Declaration of Steve Kardell

   Regarding the Filing of DOL Complaint; (2) Declaration of Steve Kardell Regarding Prefiling

   Emails and Voluntary Disclosure Meeting with Elizabeth Weathers-Nguyen; (3) Declaration of Steve

   Kardell Regarding Venue Issue: Location and Origin of Juan Manuel Gonzalez Emails; (4) U.S.

   District Courts National Judicial Caseload Profile; and (5) C. Bott, MoneyGram Can’t Blame $125

   Fine on Software: Investors, Law 360 (July 1, 2019). Docket Entry # 40, Exhibits 1-5.

          During the August 8, 2019 hearing, Defendants’ counsel objected to the evidence attached

   to Plaintiff’s surreply, asserting the exhibits violate the Court’s Local Rules. Hearing Tr. (Docket

   entry # 44) at 21:2-10. Counsel requests the Court strike the exhibits as untimely. Alternatively,

   counsel argues almost all of the evidence is inadmissible and requests the Court strike, at a

   minimum, those portions of Exhibits 1, 2, 3, and 5. Id. at 21:11-23:1.

          The Court denies Defendants’ counsel’s request to strike the exhibits attached to Plaintiffs’

   surreply as untimely. However, for purposes of this Report and Recommendation, the Court only

   considers the evidence attached as Exhibits 3 and 4 to Docket Entry # 40 (related to venue). The

   evidence before the Court reveals as follows.

   B.     Facts and factual allegations, including procedural history

          Elizabeth Weathers-Nguyen is employed by MPSI as an Associate General Counsel.

   Declaration of Elizabeth Weathers-Nguyen (“Weathers-Nguyen Decl.”), ¶ 2. MPSI is a subsidiary

   of MGI, a Delaware corporation who has maintained its principal place of business at 2828 N.

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   Harwood Street in Dallas, Texas since 2010. Id. “MPSI is likewise headquartered at 2828 N.

   Harwood Street in Dallas, Texas” and maintains its personnel records for all U.S. offices in Dallas.

   Id. ¶ 3. MPSI has no office or employees within the Texarkana Division of the Eastern District of

   Texas. Id.

          MPSI gave Plaintiff an offer letter for employment from MPSI, which Plaintiff accepted. Id.,

   ¶ 4, and Ex. 1. Plaintiff has never been employed by MGI. Weathers-Nguyen Decl., ¶ 5. MPSI

   employed Plaintiff from approximately October 2016 until approximately April 2017, when MPSI

   terminated his employment. Id., ¶ 4. Plaintiff worked for MPSI at its office located at 3000 Internet

   Boulevard in Frisco, Texas. Id. That office space is leased by MPSI, not MGI. Id. According to

   Weathers-Nguyen, MGI does not transact business in MPSI’s Frisco, Texas office, or anywhere else

   in the Eastern District of Texas. Id.

          Christopher Ponder is MPSI’s Head HR Partner in Frisco, Texas, and Juan Manuel Gonzalez

   is MPSI’s Head of Regional Compliance and Strategic Projects in Miami, Florida. Id., ¶ 5. Neither

   has been employed by MGI. Id.

          After MPSI terminated Plaintiff’s employment, Plaintiff (through counsel) filed a “formal

   complaint under Section 806 of the Sarbanes-Oxley Act of 2002” with the Occupational Safety &

   Health Administration (“OSHA”). Docket Entry # 23- 2. MGI was the only identified respondent.

   Id.

          OSHA issued a letter on October 12, 2017, stating Plaintiff had not “present[ed] a prima facie

   showing” of liability. Docket Entry # 23-3. Because OSHA did not have reasonable cause to believe

   a violation of SOX occurred, the complaint was dismissed. Id. The letter advised Plaintiff he had


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   “30 days from the receipt of these Findings to file objections and to request a hearing before an

   Administrative Law Judge.” Id. Plaintiff lodged objections on November 13, 2017, requesting a

   hearing in front of an Administrative Law Judge (“ALJ”). Docket Entry #23-4.

          Thereafter, the DOL opened Case Number 2018-SOX-00004, which it styled Juan

   Lozada-Leoni v. MoneyGram International. The case was assigned to ALJ Tracy A. Daly. Judge

   Daly issued a Notice of Case Assignment and Prehearing order on January 11, 2018. See Docket

   Entry # 23, Exs. 5 and 6. In that Notice, Judge Daly ordered Plaintiff to file a “detailed Pleading

   Complaint” by January 25, 2018. Docket Entry # 23-6 at p. 3. The Service Sheet notes the Notice

   was sent to Weathers-Nguyen for MGI.

          In a February 23, 2018 Notice of Hearing Date and Filing Deadlines, Judge Daly also

   imposed a March 15 deadline for “dispositive and joinder motions.” Docket Entry #23-7. Plaintiff

   filed no such motion.

          Plaintiff filed his Original [Administrative] Complaint on March 5, 2018. Docket Entry # 23-

   8. The Certificate of Service provides a copy of the complaint was sent via email to Weathers-

   Nguyen, in-house counsel for “Respondent MoneyGram International.” Id. at p. 26.          Plaintiff

   identified only one respondent — MGI — and did not seek relief against any party other than MGI.

   Id.

          Plaintiff filed his First Amended [Administrative] Complaint on March 26, 2018. Docket

   Entry # 23-9. Again, MGI was the only named respondent. Id. Plaintiff did not identify MPSI as

   a respondent in the original complaint or in the First Amended Complaint. Nor did Plaintiff mention

   MPSI in the factual narrative of either administrative complaint.


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          Even so, MPSI responded to Plaintiff’s First Amended [Administrative] Complaint on April

   6, 2018. Docket Entry #23-10. In particular, MPSI filed the Response as “Respondent MoneyGram

   Payment Systems, Inc., improperly named herein as MoneyGram International.” Id. at p. 1. In

   answering Plaintiff’s allegation that MGI employed him, “MoneyGram state[d] that Complainant

   was employed by MoneyGram Payment Systems, Inc. rather than by MoneyGram International[.]”

   Id. at § II, ¶ 1. Among other things, MPSI admitted Moneygram is a party to a 2012 Deferred

   Prosecution Agreement or “DPA;” that it paid a fine in 2009 as part of an agreement with the Federal

   Trade Commission; that it terminated Plaintiff’s employment; and that Gonzalez told Plaintiff he

   was not a good fit. Id., ¶¶ 28, 37, 156.

          MPSI, as Respondent, further stated on behalf of MoneyGram that Plaintiff’s claims were

   barred, in whole or in part, by Plaintiff’s failure to exhaust his administrative remedies. Id., ¶ 225.

   According to MPSI, “in his September 28, 2017, initial complaint presented to [OSHA], [Plaintiff]

   alleged only that his ‘protected conduct’ included ‘efforts to achieve compliance’ with ‘anti-money

   laundering laws,’ and with the DPA that ‘prohibited future violations of the underlying anti-money

   laundering law.’” Id. MPSI asserted Plaintiff’s allegations in the amended complaint were “far

   broader than those [Plaintiff] presented to OSHA for investigation, and all such claims are barred.”

   Id. Neither MPSI (nor MGI) raised, as a basis for failure to exhaust, Plaintiff’s improper naming of

   the MoneyGram entity.

          Plaintiff gave deposition testimony on May 23, 2018. Docket Entry # 23-11. John Barcus

   appeared for the respondent, along with Weathers-Nguyen, who is listed on the transcript as

   associate general counsel for MPSI. Id. During the deposition, Plaintiff testified as follows:



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           Q: Will you please state and spell your full name for the record, please.


           A: Juan Lozada-Leoni. . . .
                                                    ***
           Q: Okay. And, sir, my name is John Barcus. I’m with the Ogletree Deakins Law Firm
           and I represent MoneyGram Payment Systems, Incorporated. Do you understand
           that?


           A: I do.


           Q: And if I refer in this deposition simply to ‘MoneyGram,’ do you understand that
           I mean the entity that was your former employer, MoneyGram Payment Systems,
           Incorporated?


           A: I do.

   Id. at 4:10–5:1.

           Ponder was deposed on October 18, 2018 (Docket Entry # 34-7), and Gonzalez was deposed

   on December 5, 2018 (Docket Entry # 34-6). John Barcus represented MGI at the depositions. See

   Docket Entry # 34-6 at 19:3-6 (Mr. Atik: “My understanding is that you do not represent Mr.

   Gonzalez personally, but you represent MoneyGram International?” Mr. Barcus: “I represent

   MoneyGram and he’s an employee of MoneyGram. I’m not sure what distinction you’re trying to

   draw there, sir.”).

           On December 19, 2018, Judge Daly set the ALJ proceeding for a bifurcated final hearing,

   beginning on January 16, 2019. Docket Entry # 23-12. However, on December 21, 2018, counsel

   for Plaintiff “informally notified” Judge Daly’s office of his client’s intention to “exercise his right

   under 29 C.F.R. 1980.114 to bring this matter in a U.S. District Court.” Docket Entry # 23-13.

   Specifically, Plaintiff’s counsel advised that “next week we will be filing the formal removal notice

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   under Section 1980.114.” Id. Judge Daly entered an order suspending the existing filing deadlines

   until January 4, 2019 and directing Plaintiff to provide a copy of the federal complaint within seven

   days after filing in federal court. Id.

           On January 23, 2019, counsel for Plaintiff delivered a letter by fax to Judge Daly, attaching

   what purported to be copies of three filings, and stating as follows:

           Enclosed please find your copy of the following:

           •       Plaintiff Juan Lozada-Leoni’s Original Complaint
           •       Plaintiff’s Civil Cover Sheet
           •       Plaintiff’s Certificate of Interested Parties


           We are currently experiencing technical difficulties with the Northern District of
           Texas ECF filing system.


           As soon as we get a docket number assigned to this Original Complaint, we will
           provide you with a copy of same.


   Docket Entry # 23-14. The version of the complaint attached to the fax named MGI, Gonzalez, and

   Ponder as defendants (not MPSI), and it identified the court as the Northern District of Texas, Dallas

   Division. Id.

           Plaintiff filed his original complaint in the Texarkana Division of the Eastern District of

   Texas on January 23, 2019, naming MGI, Gonzalez, and Ponder as defendants. Docket Entry # 1.

   At 10:45 p.m. on January 23, 2019, counsel for Plaintiff emailed John Barcus and others, including

   Judge Daly, to advise that “rather than run the risk of violating Judge Daly’s order that no more

   extensions would be granted beyond today, out of an abundance of caution we went ahead and filed

   in the Eastern District.” Docket Entry # 23-15. Plaintiff’s counsel remarked that his “preliminary


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   research indicates that venue would be proper in both Districts.” Id.

           On January 24, 2019, Judge Daly issued an Order of Dismissal, acknowledging what he

   believed to be a complaint that had been filed in the Northern District of Texas, Dallas Division, and

   ordering that “the complaint filed in this matter under the Sarbanes-Oxley Act is DISMISSED with

   prejudice.” Docket Entry # 23-16. On February 6, 2019, Plaintiff’s counsel emailed Moneygram’s

   counsel, noting he was in the process of hiring local counsel in the Texarkana Division. Docket

   Entry # 23-17. As part of his response, Moneygram’s counsel asked Plaintiff’s counsel why the case

   had been filed in this division in the first place, and to determine the connection, if any, between this

   division and the claims in the lawsuit. Id.

           Counsel for Plaintiff advised “there was some last minute glitch in my filing number in the

   Northern District, so I decided to file in the Eastern District.” Id. Counsel further stated that he

   would “defer answers . . . when we respond to what I’m sure will be a Motion to Transfer. . . . The

   firms that I have interviewed for local counsel are fairly confident that we can keep the case in the

   Texarkana Division, so we will see how accurate that prediction is.” Id. Later on February 6,

   Moneygram’s counsel emailed back, stating Moneygram intended to move to transfer venue. Id.

   The following day, counsel for Plaintiff indicated, “I will let my local counsel do the talking for me.”

   Id.

           On March 20, 2019, Plaintiff filed his First Amended Complaint. Docket Entry # 4. Plaintiff

   again did not name MPSI as a defendant. On April 11, 2019, MGI filed its motion to dismiss, along

   with two motions to dismiss filed by Gonzalez and Ponder. Plaintiff initially sought and obtained

   an extension of time to respond to the motions to dismiss through May 9, 2019. Counsel for Plaintiff



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   then advised that (1) in light of the (non-venue-related) grounds for dismissal raised by Gonzalez and

   Ponder, Plaintiff intended to amend to dismiss those defendants with prejudice, and (2) he intended

   to amend again to add claims against MPSI, all prior to or contemporaneously with his response to

   the venue motions, and he sought a further extension of time to accomplish all of this, which

   Defendants did not oppose. Docket Entry # 16.

          On May 16, 2019, Plaintiff filed his Response in Opposition to All Defendants’ Jurisdictional

   Motions (“Response”) (Docket Entry # 19), and his Second Amended Complaint (Docket Entry #

   21). As indicated, Plaintiff dismissed Gonzalez and Ponder and added a single cause of action

   against MPSI for unlawful retaliation in violation of SOX. SAC, ¶¶ 88-90. It is styled as a cause of

   action against “Defendants,” i.e., MGI and MPSI. Id.

                       VI. WHETHER PLAINTIFF FAILED TO EXHAUST
                           ADMINISTRATIVE REMEDIES AS TO MPSI


   A.     Parties’ assertions

          Defendants contend Plaintiff has failed to exhaust administrative remedies as to MPSI

   because it was not named as a party – or even referenced – in the OSHA administrative complaints.

   Plaintiff contends administrative remedies were exhausted because the claims against MPSI fall

   within the reasonably expected sweep of an OSHA investigation that would ensue from the

   complaints.

   B.     Applicable law

          A SOX-retaliation claim requires exhaustion of administrative remedies prior to filing suit.

   Buchanan v. Sterling Constr. Co., Inc., Civil Action No. H-16-3429, 2017 WL 6888308, at *3 (S.D.


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   Tex. July 26, 2017) (citing Wallace I, 796 F.3d at 475-76 (holding SOX-retaliation suits are limited

   by the scope of the administrative complaint)). Before an employee can assert a cause of action in

   federal court under § 806 of SOX, that employee must first file a written complaint with OSHA and

   allow OSHA to resolve the employee’s claims administratively. Wingo v. S. Co., No.

   2:17-CV-01328-LSC, 2018 WL 2416447, at *4 (N.D. Ala. May 29, 2018) (citing 18 U.S.C. §

   1514A(b)(1)(A)). “The administrative complaint must be filed ‘[w]ithin 180 days after an alleged

   violation of the Act occurs,’ 29 C.F.R. § 1980.103(d), but ‘[n]o particular form of complaint is

   required.’ Id. § 1980.103(b).” Wingo, 2018 WL 2416447, at *4.

           If the employee has met these requirements for a particular violation, and a final

   administrative decision has not issued within 180 days of the filing, the employee can proceed with

   an action in federal court based on that violation. Id. (citing 18 U.S.C. § 1514A(b)(1)(B)). If an

   employee has not exhausted their claims administratively, a court may not hear those claims. The

   purpose of an administrative charge with OSHA “is to trigger the agency’s defined investigation and

   conciliation procedures.” Wingo, 2018 WL 2416447, at *4 (quoting Wallace I, 796 F.3d at 476

   (citing Sanchez v. Standard Brands, Inc., 431 F.2d 455, 466 (5th Cir. 1970))).

           In Wallace I, when faced with the exhaustion requirements for a whistleblower complaint

   under SOX, the Fifth Circuit Court of Appeals “determined the bounds of the administrative

   exhaustion requirement by reference to the similar requirements of Title VII’s exhaustion

   requirements.” Wingo, 2018 WL 2416447, at *5 (citing Wallace I, 796 F.3d at 476-77). In that case,

   “Wallace filed a second amended complaint alleging essentially four categories of protected activity:

   investigating and reporting the booking of taxes as revenues, investigating whether Tesoro had some

   sort of side agreement in Idaho Falls, Idaho, that would violate antitrust laws, identifying retaliation

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   against Wallace for raising concerns about violations of the Tesoro Code of Conduct on certificates

   of compliance in 2008 and 2009, and investigating and reporting suspected wire fraud from

   inconsistent discounts and price signaling.” Wallace v. Tesoro Corp., No. CV SA-11-CA-00099-FB,

   2017 WL 6403117, at *1 (W.D. Tex. Feb. 23, 2017), report and recommendation adopted, No.

   SA-11-CA-099-FB, 2017 WL 6403050 (W.D. Tex. Sept. 28, 2017) (“Wallace II), aff’d sub nom.

   Wallace III, 916 F.3d 423 (citing Wallace I, 796 F.3d at 473).

          Tesoro moved to dismiss, and the magistrate judge recommended granting the motion as to

   the first three categories of protected activity and allowing amendment to cure deficiencies related

   to the wire fraud-based claim. Id. In addition to filing objections, Wallace filed a third amended

   complaint. Wallace II, 2017 WL 6403117, at *1 (citing Wallace I, 796 F.3d at 474). Tesoro moved

   to dismiss it, raising the argument that the wire fraud-based claims had not been presented in the

   OSHA complaint and were, therefore, unexhausted. Id. The magistrate judge recommended

   dismissing that complaint based on the failure to exhaust, to which Wallace objected. Id. The district

   judge accepted the recommendations, dismissing the first three categories of protected activity from

   the second amended complaint. Id.

          On appeal, Wallace argued that “SOX contains no exhaustion requirement and that, to the

   contrary, merely filing a charge with OSHA that triggers an investigation is enough to permit a future

   district-court filing that is not limited by the scope of that charge.” Wallace I, 796 F.3d at 475. The

   Fifth Circuit found that SOX has an exhaustion requirement, and such “exhaustion requirement is

   consistent with SOX’s administrative-enforcement mechanisms.” Id. at 476. The Fifth Circuit

   further found the district court correctly concluded that Wallace’s wire fraud-based protected activity

   was outside the scope of the OSHA complaint or any investigation it would reasonably prompt.

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   Wallace II, 2017 WL 6403117, at *2 (citing Wallace I, 796 F.3d at 474).

          In so finding, the Fifth Circuit noted the reason for the exhaustion requirement in Title VII

   applies with equal force to SOX, and the “purpose is to trigger the agency’s defined investigation

   and conciliation procedures.” Wallace I, 796 F.3d at 476. The Fifth Circuit further explained the

   “exhaustion requirement should go only as far as is necessary to give the agency its initial crack at

   the case rather than focusing only on the four corners of the facts included in the original agency

   complaint.” Id.

          In adopting the SOX retaliation exhaustion standard in Wallace I, the Fifth Circuit noted it

   was joining the Fourth Circuit Court of Appeals, which had held that “[l]itigation may encompass

   claims ‘reasonably related to the original complaint, and those developed by reasonable investigation

   of the original complaint.’” Buchanan, 2017 WL 6888308, at *3 (citing Wallace, 796 F.3d at 476,

   476 n.7) (quoting Jones v. Southpeak Interactive Corp. of Del., 777 F.3d 658, 699 (4th Cir. 2015))).

   The Fourth Circuit in Jones held that failure to clearly identify two defendants in the underlying

   OSHA complaint was not fatal to the SOX-retaliation claim because the defendants were named as

   the persons alleged to have violated the act in the OSHA complaint and were aware of the plaintiff’s

   allegations. Buchanan, 2017 WL 6888308, at *3 (citing Jones, 777 F.3d at 669-70).

   C.     Discussion

          In his response, Plaintiff asserts he was not required to name MPSI in his administrative

   complaint. Docket Entry # 34 at p. 5. According to Plaintiff, even though his administrative

   complaint did not name MPSI, it gave MPSI fair notice of the charges against it and afforded OSHA

   the opportunity to resolve those charges administratively. Plaintiff asserts there can be no doubt that


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   both MPSI and OSHA were put on fair notice of Plaintiff’s claims under SOX. Id.

            Plaintiff also refers to an integrated employer (or single employer) test, asserting all factors

   point to MGI and MPSI as an integrated entity for purposes of SOX compliance; thus, there is no

   need for notice of exhaustion as far as MPSI is concerned. Id. at p. 7. Plaintiff argues the

   “distinctions between employees of parents vis-à-vis employees of subsidiaries were blurred as a

   result of the July 21, 2010 Amendment to SOX, which provided SOX coverage for ‘any subsidiary

   of affiliate [of a public company] whose financial information is included in the consolidated

   financial statements of such company.’” Id. (citing Dodd-Frank Wall Street Reform and consumer

   Protective Act§ 929A). According to Plaintiff, prior to the enactment of Dodd-Frank §929A, some

   ALJs held that non-public subsidiaries could be covered by SOX if the ALJ found that “the parent

   company and its wholly-owned subsidiary were so intertwined as to represent one entity.” Docket

   Entry # 34 at p. 7 (citing Hughart v. Raymond James & Assocs., Inc., No. 2004 SOX 9, 2004 WL

   5308719 at *43 (DOL ALJ, Dec. 17, 2004)).

            Plaintiff provided the Court evidence indicating MGI publically emphasizes its “integrated

   relationship with MPSI.”2 In MGI’s 2016 Form 10-K, MGI stated as follows: “We conduct our

   business primarily through our wholly owned subsidiary, MoneyGram Payment Systems, Inc.

   (‘MPSI’), under the MoneyGram brand.” Docket Entry # 34-3 at p. 5. According to Plaintiff, in both



            2
             Plaintiff attached to his responses a Form 10-K for MGI for the period ending 12/31/16. Docket Entry # 34-3.
   Additionally, Plaintiff attached the 2012 Deferred Prosecution Agreement (“DPA”), wherein the United States of
   America deferred prosecution of MGI for five years on a two-count Criminal Information charging aiding and abetting
   wire fraud, in violation of Title 18, United States Code, Sections 1343 and 2, and willfully failing to implement and
   maintain an effective anti-money laundering program in violation of the Bank Secrecy Act, Title 31, United States Code,
   Sections 5318(h) and 5322. Docket Entry # 34-4. Plaintiff also attached a 2018 Joint Motion to Amend and Extend the
   Deferred Prosecution Agreement, with the attached Amendment to and Extension of Deferred Prosecution Agreement
   (“Amended DPA”), entered into between MGI and the DOL. Docket Entry # 34-5.

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   the DPA and the Amended DPA, MGI acquiesced and consented to recognizing all of its employees

   as subject to those agreements. Plaintiff asserts both the DPA and the Amended DPA combined all

   of MGI’s employees together in terms of oversight, with no distinction as to which entity (parent or

   subsidiary) was actually the “employer.” Plaintiff contends Gonzalez, Plaintiff’s immediate

   supervisor, and Ponder, the head of human resources, testified without distinction that they were

   employed by MoneyGram. Docket Entry # 34-6 at 19:7; Docket Entry # 34-7 at 23:24-25. Plaintiff

   asserts these facts are determinative as to the issue of whether MPSI and MGI are substantially

   identical entities for purposes of notice of the underlying DOL charges.3

            At the August 8, 2019 hearing, Defendants’ counsel argued “integrated entity is no longer

   relevant because SOX provides direct subsidiary liability.” Hearing Tr. (Docket Entry #44) at 25:3-

   4. The Court has been unable to locate any cases on point within the Fifth Circuit applying the

   integrated employer test in a SOX case. However, the Court does not need to rely on any such test

   in order to find in Plaintiff’s favor.

            Defendants correctly note a SOX-retaliation claim requires exhaustion of administrative

   remedies, but they go too far in arguing a party must be specifically named as a respondent in the

   administrative action. Hearing Tr. (Docket Entry # 44) at 24:11-12. Defendants cite Bozeman v.

   Per-Se Techs., Inc., 456 F. Supp. 2d 1282, 1356 (N.D. Ga. 2006) and Hanna v. WCI Communities,

   Inc., Civil Action No. 04-80595-CV-HURLEY/LYNCH (S.D. Fla. Nov. 15, 2004), among other

   cases, for that proposition. At the hearing, Defendants’ counsel acknowledged some “outlier cases”

            3
              Should the Court be inclined to recommend Defendants’ motions to dismiss be granted based on failure to
   exhaust as to MPSI, Plaintiff submits he should be entitled to a limited amount of discovery on the issue of whether MGI
   and MPSI constituted “a single, integrated enterprise and, therefore, naming MPSI as an individual defendant in the
   administrative complaint would have been superfluous.” Docket Entry # 34 at p. 6, n. 1.



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   like Walder v. Bio-Rad Labs, Inc., 141 F. Supp. 3d 1005 (N.D. Cal. 2015), relied upon by Plaintiff,

   have found sufficient the naming of an individual defendant in the body of an administrative

   complaint. However, Defendants assert Plaintiff did not even do that. Hearing Tr. (Docket Entry

   # 44) at 24:16-21.

          As an initial matter, the Court is not convinced Walder is an “outlier” case. In Wingo v. S.

   Co., No. 2:17-CV-01328-LSC, 2018 WL 2416447 (N.D. Ala. May 29, 2018), the defendants cited

   Bozeman and Hanna for the proposition that the plaintiff’s failure to name the individual defendant

   Fanning in the caption of his administrative complaint constituted a per se failure to exhaust. Wingo,

   2018 WL 2416447, at *5. The court in Wingo departed from “Bozeman and Hanna’s overly

   formulaic exhaustion requirements.” Id. The court found the defendants’ “reading of Bozeman and

   Hanna is discordant with the purpose of the exhaustion requirement, which is to put OSHA on notice

   of possible SOX violations.” Id. The court noted it had been unable to find any law or regulation

   requiring the complainant to include a caption of which defendants are to be sued, and pulling such

   a requirement out of thin air directly contradicts the current version of § 1980.103(b), which states

   that “no particular form of a complaint is required.” Id. The court in Wingo then determined whether

   the counts asserted under SOX in the plaintiff’s complaint could “reasonably be expected to grow

   out of the charge” contained in the two filings that constituted the plaintiff’s administrative

   complaint.4 Id. at *6.

          4
              The court concluded as follows:

          While Plaintiff certainly mentioned Defendant Fanning’s acts or omissions in the First Complaint, they
          were spread among many other actors and were not conspicuously indicated in comparison to other
          individuals. Plaintiff’s Supplemental Complaint likewise instructed OSHA to focus on later events that
          apparently did not involve Defendant Fanning. Reading the two documents together, the Court cannot
          believe that OSHA would properly seek to investigate Defendant Fanning more than the other sixty
          individuals named—and it is certainly indisputable that Plaintiff has not exhausted administrative

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            Importantly, the Court has located a case from within the Fifth Circuit which has also rejected

   an overly formulaic exhaustion requirement. In Buchanan v. Sterling Constr. Co., Inc., Civil Action

   No. H-16-3429, 2017 WL 6888308 (S.D. Tex. July 26, 2017), the court stated the Fifth Circuit’s

   holding in Wallace I “only requires that claims have a reasonable relation ‘to the original complaint,

   and those developed by reasonable investigation of the original complaint,’ 796 F.3d at 476, which

   is not so formalistic as to require a party be actually named as the respondent in the administrative

   action when he is named as the responsible person in the complaint and admittedly aware he was the

   subject of the OSHA investigation.” Buchanan, 2017 WL 6888308, at *3. In Buchanan, Scott was

   named in the OSHA complaint as the management person responsible for the reported retaliation.

   Buchanan, 2017 WL 6888308, at *3. Scott conceded he was on notice that he was the subject of the

   plaintiffs’ OSHA complaint. Id. The court held any claims against Scott would fall within the sweep

   of an OSHA investigation that would reasonably be expected to ensue from the administrative

   complaint.5 Id.




            remedies against all individuals named in the first complaint. Rather, the Court finds that the specific
            acts or omissions in the Supplemental Complaint, read in reference to the First Complaint, should
            properly define the scope of administrative exhaustion. Thus, Defendants' Motion to Dismiss should
            be granted to the extent that it argues that Plaintiff has failed to complete the prerequisite
            administrative exhaustion against Defendant Fanning.

   Wingo, 2018 WL 2416447, at *6.

            5
              The court noted its prior holding in Thanedor v. Time Warner, Inc., Civil Action No. H-06-2139, 2008 WL
   8886544 (S.D. Tex. Oct. 7, 2008) (Hittner, J.), did not compel the court to reach a different conclusion. Buchanan, 2017
   WL 6888308, at *3. In Thanedor, the court issued an alternative conclusion of law that a pro se litigant failed to present
   any evidence at trial that he filed an administrative complaint against four of the defendants. Id. (citing Thanedor, 2008
   WL 8886544 at *14). However, the court found the defendants conceded at trial the administrative complaint was
   properly filed with OSHA as to two additional defendants. Id. According to the court in Buchanan, Thanedor’s holding
   does not stand for the proposition that a party must be named as a defendant in the administrative proceeding; merely,
   that under the facts of that case, there was no evidence some of the parties to the suit were parties to the underlying
   administrative complaint.



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             As urged by Plaintiff and noted above, in the Fifth Circuit “[t]he scope of a judicial complaint

   is limited to the sweep of the OSHA investigation that can reasonably be expected to ensue from the

   administrative complaint.” Buchanan, 2017 WL 6888308, at *3 (citing Wallace I, 796 F.3d at 476).

   Defendants argue MPSI did not have notice that Plaintiff was asserting a claim against it until the

   SAC was filed in this lawsuit. Hearing Tr. (Docket Entry # 44) at 23:22-24. However, the evidence

   shows MPSI, and OSHA, were aware and that MPSI was included in the underlying administrative

   action.

             MPSI’s Associate General Counsel Weathers-Nguyen received notification of the filings and

   actively participated in the administrative action. MPSI employees, Gonzalez and Ponder, were

   referenced throughout both administrative complaints and were both deposed. However, at their

   depositions, they indicated they were employed by MGI. Importantly, MPSI filed the answer to

   Plaintiff’s amended administrative complaint, and it did not raise the improper entity issue in its

   failure to exhaust arguments. Considering the unique facts of this case, the Court finds Plaintiff’s

   claims against MPSI can reasonably be expected to grow out of the administrative complaints against

   MGI. Accordingly, the Court finds Plaintiff exhausted his administrative remedies as to the

   SOX-retaliation claim against MPSI and recommends MPSI’s motion to dismiss for lack of

   jurisdiction be denied.6 The Court now considers Defendants’ § 1404(a) motion to transfer venue.




             6
             Because the Court recommends MPSI’s motion to dismiss be denied, the Court need not consider MGI’s
   motions to dismiss under Rule 12(b)(3) and alternative § 1406(a) motion to transfer to the Northern District of Texas.
   See Defendants’ MGI and MPSI Motion to Dismiss, or in the Alternative, Transfer slides from August 8, 2019 hearing
   at p. 17.

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                          VII. DEFENDANTS’ MOTION TO TRANSFER
                            VENUE PURSUANT TO 28 U.S.C. § 1404(a)


   A.     Parties’ assertions

          In the briefing on the alternative motions to transfer venue pursuant to 28 U.S.C. § 1404(a),

   Defendants contend transfer to the Northern District of Texas, Dallas Division, or alternatively, the

   Sherman Division of the Eastern District of Texas would be more convenient. Docket Entry #5 at

   pp. 18-23; see also Docket Entry # 23 at pp. 20-21. However, at the August 8, 2019 hearing,

   Defendants focus on their alternative request for intra-district transfer to the Sherman Division of

   the Eastern district of Texas. According to Defendants’ counsel, in the event the Court does not

   dismiss either MGI or MPSI, this case should be transferred under § 1404(a) to the “clearly more

   convenient venue, which is actually intra-district transfer to the Sherman” division of the Eastern

   District of Texas. Hearing Tr. (Docket Entry # 44) at 40:24-41:3; see also id. at 69:8-12 (stating in

   the event the Court denies MPSI’s motion to dismiss as an improper defendant, the “only

   comparison we’re doing with 1404 is between Texarkana and Sherman”).

          Defendants submit the relevant private and public interest factors favor intra-district transfer

   to the Sherman Division. According to Defendants, Plaintiff has not “pointed to any fact document,

   witness, or event that occurred in the Texarkana division of the Eastern District of Texas.” Id. at

   71:9-12. In its reply, MPSI contends there is a local interest in the Sherman Division because

   Plaintiff worked for MPSI in its Frisco, Texas office, and Plaintiff was informed of his termination

   there. Docket Entry # 37 at pp. 8-9.

          In response, Plaintiff acknowledges a substantial event (his termination) occurred in Frisco,



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   but he argues one convenience factor (the interest of justice) significantly weighs in favor of keeping

   venue in the Texarkana Division. Hearing Tr. (Docket Entry # 44) at 61:12-16. Plaintiff contends

   the other convenience factors are either neutral or weigh slightly against intra-district transfer,

   because “39 out of 44 [witnesses] are closer to Texarkana.” Id. at 61:16-20.

   B.      Applicable law

           Title 28, United States Code, Section 1404(a) provides, “for the convenience of parties and

   witnesses, in the interest of justice, a district court may transfer any civil action to any other district

   or division where it might have been brought.” “The § 1404(a) factors apply as much to transfers

   between divisions of the same district as to transfers from one district to another.” In re Radmax,

   Ltd., 720 F.3d 285, 288 (5th Cir. 2013)

           The defendant must first demonstrate that the plaintiff could have brought the action in the

   transferee court initially. In re Volkswagen AG, 371 F.3d 201, 203 (5th Cir. 2004) (“Volkswagen I”).

   The defendant moving to transfer venue must show “good cause” for transfer. In re Volkswagen of

   America, Inc., 545 F.3d 304, 315 (5th Cir. 2008) (en banc) (“Volkswagen II”). “When viewed in the

   context of § 1404(a), to show good cause means that a moving party, in order to support its claim

   for a transfer, must satisfy the statutory requirement and clearly demonstrate that a transfer is ‘[f]or

   the convenience of parties and witnesses, in the interest of justice.’” Id.

           In determining whether to grant a motion to transfer under § 1404(a), a district court must

   balance the private convenience interests of the litigants and the public interests in the fair and

   efficient administration of justice. See Koehring Co. v. Hyde Const. Co., 324 F.2d 295, 297 (5th Cir.




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   1963) (citing Gulf Oil Corp. v. Gilbert, 330 U.S. 501 (1947));7 see also Volkswagen II, 545 F.3d at

   315. The private interest factors include “(1) the relative ease of access to sources of proof; (2) the

   availability of compulsory process to secure the attendance of witnesses; (3) the cost of attendance

   for willing witnesses; and (4) all other practical problems that make a trial of a case easy,

   expeditious, and inexpensive.” Volkswagen II, 545 F.3d at 315 (citing Volkswagen I, 371 F.3d at

   203).

            The public interest factors are: “(1) the administrative difficulties flowing from court

   congestion; (2) the local interest in having localized interests decided at home; (3) the familiarity of

   the forum with the law that will govern the case; and (4) the avoidance of unnecessary problems of

   conflict of laws [or in] the application of foreign law.” Volkswagen II, 545 F.3d at 315 (citing

   Volkswagen I, 371 F.3d at 203). While the factors are appropriate for most cases, they are not

   necessarily exhaustive or exclusive. Id. No single factor is of dispositive weight. Id. The court

   should engage in a case-by-case consideration of convenience and fairness. See Stewart Org., Inc.

   v. Ricoh Corp., 487 U.S. 22, 29 (1988).

            The Court addresses Defendants’ motions with these guidelines in mind, first looking to the

   threshold inquiry, then moving to the private interest factors, and concluding with the public interest

   factors. Virginia Innovation Scis., Inc. v. Amazon.com, Inc., No. 4:18-CV-474, 2019 WL 3082314,

   at *9 (E.D. Tex. July 15, 2019). As no one contests Plaintiff’s case against both MGI and MPSI

   could have been brought in the Sherman Division of the Eastern District of Texas, the threshold



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               The Court points out that Gilbert involved a common law forum non conveniens issue which is to be
   distinguished from a transfer under § 1404. District courts are given greater discretion to transfer in § 1404 cases than
   they are to dismiss in forum non conveniens cases. Norwood v. Kirkpatrick, 349 U.S. 29, 32 (1955). Gilbert merely
   articulated the public and private interest factors to be considered.

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   inquiry is satisfied. Id. Therefore, the Court will turn to whether the Sherman Division is the more

   convenient forum, starting with the private interest factors.

   C.     Discussion

   1.     Private interest factors

   a.     Relative ease of access to sources of proof

          When considering the relative ease of access to sources of proof, a court looks to where

   documentary evidence, such as documents and physical evidence, are stored. Volkswagen II, 545

   F.3d at 316. For this factor to weigh in favor of transfer, Defendants must show that transfer to the

   Sherman Division will result in more convenient access to sources of proof. Durrett v. Walmart,

   Inc., No. 2:18-CV-00332-JRG, 2018 WL 5630521, at *2 (E.D. Tex. Oct. 31, 2018) (citing Diem LLC

   v. BigCommerce, Inc., No. 6:17-cv-186, 2017 WL 6279907, at *2 (E.D. Tex. Dec. 28, 2017)).

          MGI is headquartered in Dallas and preserves its records there. Docket Entry # 24 at p. 6.

   MPSI is also headquartered in Dallas and maintains its personnel records for all U.S. offices in

   Dallas. Docket Entry #5 at p. 8. Plaintiff worked for MPSI in Frisco, Texas, within the Sherman

   Division. According to Defendants’ presentation materials at the August 8, 2019 hearing, the

   following sources of proof are located in either Frisco (within the Sherman Division) or Dallas (near

   the Sherman Division): (1) MGI documents; (2) MPSI’s personnel records; (3) one of MPSI’s

   document servers; (4) other MPSI relevant documents; (5) agent review worksheets; (6) AML/fraud

   compliance review reports; (7) acknowledgment form; (8) suspicious activity reports; (9) documents

   related to meeting with Walmart; and (10) documents related to alleged presentations. See

   Defendants’ MGI and MPSI Motion to Dismiss, or in the Alternative, Transfer slides from August


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   8, 2019 hearing at p. 20.

           Plaintiff asserts Ponder, MGI’s director of human resources, testified no physical

   documentation was created regarding communications between Ponder and Gonzalez about the

   reasons for Plaintiff’s termination; thus, local documents will have little relevance here. Docket

   Entry # 19 at p. 8. Plaintiff asserts he will seek documents from MGI’s agents, such as SupreValu,

   CVS, and Schnucks, which are located in the “Atlanta-Georgia area, and in the Midwest.” Id.

   Regarding documentary evidence stored electronically, Plaintiff claims both MGI’s and MPSI’s

   email servers are located in Minnesota. Docket Entry # 32 at p. 8. Plaintiff further contends

   Gonzalez’s documents are located in Miami. Arguing the relevant sources of proof are located out-

   of-state, Plaintiff states the access to local sources of proof is neutral.

           The Fifth Circuit has made clear that the sources of proof requirement is a meaningful factor

   in the analysis. See Volkswagen II, 545 F.3d at 316 (citing Volkswagen I, 371 F.3d at 203). In

   Radmax, the Fifth Circuit explained that the inconvenience of transporting documents sixty-two

   miles further to the Marshall Division as compared to the Tyler Division “may well be slight, but

   . . . the question is of relative ease of access, not absolute ease of access.” Smith v. Michels Corp.,

   No. 2:13-CV-00185-JRG, 2013 WL 4811227, at *3 (E.D. Tex. Sept. 9, 2013) (quoting Radmax, 720

   F.3d at 288 (emphasis in original)). The Fifth Circuit found the relative ease of access to sources of

   proof weighed in favor of transfer “because all of the documents and physical evidence [were]

   located in the Tyler Division.” Id. (quotations and alterations omitted).

           Here, relevant sources of proof are located in the Sherman Division of the Eastern District

   of Texas or in Dallas, which is much closer to the Sherman Division (specifically, the Plano



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   courthouse) than to the Texarkana Division. Considering this, and further considering there are no

   documents or physical evidence located within the Texarkana Division, the Court finds this factor

   weighs in favor of transfer.

   b.      Availability of compulsory process

           The second private interest factor is the availability of compulsory process to secure the

   attendance of witnesses. Virginia Innovation, 2019 WL 3082314, at *15 (citing Volkswagen I, 371

   F.3d at 203). Under Federal Rule of Civil Procedure 45, a court may enforce a subpoena issued to

   any non-party witness in the State of Texas to appear at trial, provided the party does not incur

   substantial expense. Virginia Innovation, 2019 WL 3082314, at *15 (citing FED. R. CIV. P.

   45(c)(1)(B)). Similarly, a court may enforce any subpoena for a deposition to be taken within its

   boundaries, provided that the deposition is taken no more than 100 miles from a location where the

   person resides, is employed, or regularly transacts business in person. Virginia Innovation, 2019 WL

   3082314, at *15 (citing FED. R. CIV. P. 45 (a)(2); also citing FED. R. CIV. P. (c)(1)(A)). Party

   witnesses do not require compulsory process for trial and are not given much weight in this factor.

   Virginia Innovation, 2019 WL 3082314, at *15. Rather, the focus of this factor is on witnesses for

   whom compulsory process to attend trial might be necessary. Id. (citing Ingeniador, LLC v. Adobe

   Sys. Inc., No. 2:12-cv-805, 2014 WL 105106, at *2 (E.D. Tex. Jan. 10, 2014)).

           With regard to out-of-state witnesses, Defendants and Plaintiff agree this factor is neutral.

   Regarding in-state witnesses, Plaintiff represents he does not plan to call any non-party witnesses

   residing within the State of Texas; thus, he argues this factor is neutral. Docket Entry # 32 at pp. 8-9.

   Defendants argue this factor favors transfer for likely witnesses in Frisco. According to Defendants,



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   there is no guarantee the many local witnesses Plaintiff identified in the administrative proceeding

   will remain employed with Defendants by the time of trial,8 “and in any event, the question is

   whether compulsory process is available if it is necessary – and Plaintiff concedes . . . ‘the Sherman

   Division would have subpoena power whereas Texarkana would not.’” Docket Entry # 24 at p. 7

   (emphasis in original) (quoting Docket Entry # 19 at p. 9).

            Importantly, neither party has identified any non-party witnesses in the Texarkana Division

   of the Eastern District. The Sherman Division’s absolute subpoena power over any Dallas area non-

   party witnesses is a consideration in the venue analysis. In re Hoffmann-La Roche Inc., 587 F.3d

   1333, 1338 (Fed. Cir. 2009). This factor therefore weighs in favor of transfer.

   c.       Cost of attendance for willing witnesses

            “The convenience of the witnesses is probably the single most important factor in a transfer

   analysis.” Potter v. Cardinal Health 200, L.L.C., No. 2:19-CV-00007-JRG, 2019 WL 2150923, at

   *4 (E.D. Tex. May 16, 2019) (quoting In re Genentech, 556 F.3d 1338, 1343 (Fed. Cir. 2009)

   (applying Fifth Circuit law)). As the Fifth Circuit has emphasized, this factor does not lose all

   relevance when the movant seeks to transfer to a venue within 100 miles of the court from which

   transfer is sought. Potter, 2019 WL 2150923, at *4 (citing Radmax, 720 F.3d at 288–89). Indeed,

   the Fifth Circuit recognized that even transfers within 100 miles can impose costs on the witnesses,

   and that these costs should be factored into the analysis. Potter, 2019 WL 2150923, at *4 (citing

   Radmax, 720 F.3d at 289).


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              Specifically, MGI points out John Tyson, who resides in Dallas, was an MPSI employee when he gave
   deposition testimony during the administrative proceeding. Docket Entry # 24 at p. 7, n. 1. According to MGI, Tyson
   is no longer employed by MPSI, and if for some reason he were to “become reluctant to attend trial willing, this court
   would not be able to compel his presence.” Id.

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           The parties have not identified any potential witnesses as being located or employed in the

   Texarkana Division of the Eastern District. According to Defendants, Plaintiff deposed or identified

   several MPSI employees in the administrative proceeding who reside in the DFW area: (1) Ponder;

   (2) Lea Pfiefer; (3) Andy Villareal; and (4) Kyle DeBlock. See Defendants’ MGI and MPSI Motion

   to Dismiss, or in the Alternative, Transfer slides from August 8, 2019 hearing at p. 22. Defendants

   assert there are several likely out-of-state witnesses, including the following: (1) Gonzalez (Miami);

   (2) Domh Leandro (Miami); (3) Manuel Goico (Atlanta); (4) Dana Johnson (Minneapolis); (5) Derya

   White (Atlanta); and (6) Peter Green (UK). Id.

           Defendants contend the cost of attendance would be substantially greater for any of these

   witnesses if trial were held in the Texarkana Division rather than in the Sherman Division. Docket

   Entry # 5 at pp. 21-22. In response, Plaintiff argues the “shortest distance to the Texarkana

   courthouse from the Midwest, the East Coast or the Florida-Georgia area would be through the

   Shreveport airport. . . .” Docket Entry # 19 at pp. 14-15. Plaintiff further asserts the cost of lodging

   in Texarkana would be less expensive than in the Dallas area. Hearing Tr. (Docket Entry # 44) at

   57:23-58:3. Therefore, Plaintiff argues this factor is neutral. The Court disagrees.

           The Court notes some of the events in this case allegedly occurred at MPSI’s Frisco, Texas

   office, which is located within the Sherman Division. Most, if not all, of the MPSI witnesses likely

   work or reside in the DFW area, which weighs in favor of transfer. See Potter, 2019 WL 2150923,

   at *4. On balance, the Court finds this factor weighs in favor of transfer.

   d.      All other practical problems

           Practical problems include those that are rationally based on judicial economy. Id. at * 5.


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   Particularly, the existence of duplicative suits involving the same or similar issues may create

   practical difficulties that will weigh heavily in favor of or against transfer. Id. (citing Eolas Techs.,

   Inc. v. Adobe Sys., Inc., No. 6:09-cv-446, 2010 WL 3835762 at *6 (E.D. Tex. Sept. 28, 2010), aff’d

   sub. Nom. In re Google, Inc., 412 Fed. Appx. 295 (Fed. Cir. 2011)). The Fifth Circuit has clarified

   that “the garden-variety delay associated with transfer is not to be taken into consideration when

   ruling on a § 1404(a) motion to transfer.” Potter, 2019 WL 2150923, at *5 (quoting Radmax, 720

   F.3d at 289).

           Neither party has identified any practical problems that would cause this case to be

   substantially delayed if it is transferred to the Sherman Division. Thus, this factor is neutral.

   2.      Public Interest Factors

   a.      Administrative difficulties flowing from court congestion

           “To the extent that court congestion is relevant, the speed with which a case can come to trial

   and be resolved may be a factor.” Potter, 2019 WL 2150923, at *5 (quoting Genentech, 566 F.3d

   at 1347). In deciding whether to transfer, a court may consider how quickly a case will come to trial

   and be resolved, but time to trial should not outweigh other factors and should be viewed with

   caution because this consideration is the “most speculative.” See Versata Software, Inc. v. Internet

   Brands, Inc., No. 2:08-CV-313, 2009 WL 3161370 at *4 (E.D. Tex., Sept. 30, 2009). [T]he real

   issue is not whether [transfer] will reduce a court’s congestion but whether a trial may be speedier

   in another court because of its less crowded docket. Genentech, 566 F.3d at 1347 (quoting Gates

   Learjet Corp. v. Jensen, 743 F.2d 1325, 1337 (9th Cir.1984)).

           Plaintiff relies on the larger number of cases filed in the Sherman Division versus the


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   Texarkana Division for the 2019 year. Docket Entry # 34 at p. 19. According to Plaintiff, the

   Sherman Division’s docket is more congested than that of the Texarkana Division, which “weighs

   significantly in favor of maintaining venue here.” Id.

          Plaintiff’s concerns regarding court congestion are mitigated because transfer to the Sherman

   Division in this instance will not require reassignment to a different district judge. Because the

   Court is unaware of any “difficulties that would arise from transferring or retaining th[e] case,” the

   Court finds this factor is neutral. Potter, 2019 WL 2150923, at *5 (citing Radmax, 720 F.3d at 289).

   b.     Local interest in having localized interests decided at home

          The Court must consider local interest in the litigation because “[j]ury duty is a burden that

   ought not to be imposed upon the people of a community which has no relation to the litigation.”

   Potter, 2019 WL 2150923, at *5 (quoting Volkswagen I, 371 F.3d at 206). As noted above, the

   present forum does not have any meaningful ties to the controversy. The alleged acts or omissions

   did not occur in Texarkana, Plaintiff does not reside in Texarkana, none of Plaintiff’s witness’s

   reside in Texarkana, Defendants do not reside in Texarkana, and the decisions challenged in this case

   did not uniquely or disproportionately impact residents of the Texarkana Division. If the case was

   heard in the Texarkana Division, citizens in communities with little connection to the case would

   be forced to serve on the jury.

          By contrast, there is a local interest in adjudicating this dispute in the Sherman Division.

   MPSI has an office in Friso, and many of the alleged events involving MPSI employees took place

   in Frisco. The citizens of the Sherman Division of the Eastern District of Texas have a strong local

   interest in resolving this controversy. Accordingly, the Court finds this factor weighs in favor of


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   intra-district transfer.

   c.      Familiarity of the forum with the governing law

           Neither party argues that either the Texarkana Division or the Sherman Division lacks

   familiarity with the law that will govern in this case. The Court finds that both divisions are equally

   capable of applying the relevant law and finds this factor is neutral. Potter, 2019 WL 2150923, at

   *6 (citing Radmax, 720 F.3d at 289).

   d.      Avoidance of unnecessary conflicts of law

           Neither party has shown any concerns about potential conflict of law in this matter. The

   Court finds this factor neutral.

   D.      Summary

           Upon considering each of the applicable public and private factors related to transfer pursuant

   to 28 U.S.C. § 1404(a), the Court finds that, on balance, such factors weigh in favor of transfer. For

   these reasons, the Court recommends Defendants’ alternative motion to transfer pursuant to 28

   U.S.C. § 1404(a), on an intra-district basis, be granted. Accordingly, it is hereby

           RECOMMENDED that Defendant MoneyGram International, Inc.’s Motion to Dismiss for

   Improper Venue, or Alternatively, Motion to Transfer Venue Under 28 U.S.C. § 1406 (Docket Entry

   # 5-1) and Defendant MoneyGram Payment Systems, Inc.’s Motion to Dismiss (Docket Entry # 23-

   1) be DENIED. It is further

           RECOMMENDED that Defendants’ Alternative Motions to Transfer Under 28 U.S.C. §

   1404(a) (Docket Entry #s 5-2, 23-2) be GRANTED. It is further



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               RECOMMENDED that the above-entitled and numbered cause of action be transferred to

       the Eastern District of Texas, Sherman Division.

                                                     Objections

               Within fourteen (14) days after service of the magistrate judge’s report, any party must serve

       and file specific written objections to the findings and recommendations of the magistrate judge.

       28 U.S.C. § 636(b)(1)(C). In order to be specific, an objection must identify the specific finding or

       recommendation to which objection is made, state the basis for the objection, and specify the place

       in the magistrate judge’s report and recommendation where the disputed determination is found. An

       objection that merely incorporates by reference or refers to the briefing before the magistrate judge
.
       is not specific.

               Failure to file specific, written objections will bar the party from appealing the unobjected-to

       factual findings and legal conclusions of the magistrate judge that are accepted by the district court,

       except upon grounds of plain error, provided that the party has been served with notice that such

       consequences will result from a failure to object. See Douglass v. United Servs. Auto. Ass’n, 79 F.3d

       1415, 1417 (5th Cir. 1996) (en banc), superseded by statute on other grounds, 28 U.S.C. § 636(b)(1)

       (extending the time to file objections from ten to fourteen days).

       SIGNED this 25th day of November, 2019.




                                                      ____________________________________
                                                      CAROLINE M. CRAVEN
                                                      UNITED STATES MAGISTRATE JUDGE



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